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EXHIBIT B
 

 

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STATE OF FLORIDA )
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COUNTY OF WMianpeee  )

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I, Dr. Bino Rucker, M.D., of lawful age, being first duly sworn upon oath, depose and

State, to-wit:

| am a former cancer surgeon and Medical Director at Rucker Integrative Medicine and
graduated from the University of Virginia Medical School and performed my residency at
Sloan Kettering.

1 am the treating oncologist for Christopher Worrell, hereinafter referred to as Mr.
Worrell. who was diagnosed 2007 with Non-Hodgkin’s Lymphoma.

The Centers for Disease Control and Prevention (CDC) has stated that adults age 65+

years and those with serious medical conditions, including cancer, are at higher risk for

severe illness from COVID-19.

Many cancers — including Non-Hodgkin lymphoma, leukemias and multiple myeloma -

and cancer treatments like stem cell transplants, chemotherapies and radiation therapies.

can weaken the body’s ability to fight infections.

Research shows that the effects on the immune system of these cancers and treatments

can linger long after treatments are completed.

As a result, patients who are immunocompromised are deemed at higher risk of infectious
diseases such as COVID-19, and all cancer survivors should take extra precautions to

protect themselves from infection.

Since his detention earlier this year, Mr. Worrell has suffered aggravating symptoms of
his cancer, including lymphomas of the skin on his face. The lesions are described as
often itchy, scaly, and red to purple. [he lymphoma might show up as more than one type
of lesion and on different parts of the skin. Some skin lymphomas appear as a rash over

some or most of the body, known as erythroderma. Sometimes larger lesions can break

open with ulcerations and may become dangerously infected and present serious risk to

Mr. Worrell’s health.

 

 
 

My 8. Since his detention, Mr. Worrell describes evidence of his cancer that “his skin is on fire

and itching like crazy on the call because of no meds.” He further describes there are
“four nodes behind his right ear that were not there before,” and that he “fears this could
come back and get into his blood and make this full blown again.”

?. Continuing confinement at the federal detention center presents substantial risk of serious
infection to Mr. Worrell and his transfer to home confinement would significantly

decrease the risk to his health in connection with the ongoing COVID-19 pandemic.

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Sworn and subscribed to me on this 2‘“{{\day of March, 2021.

 

 
